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   1   GORDON REES SCULLY MANSUKHANI, LLP
       HAZEL MAE B. PANGAN (SBN: 272657)
   2   hpangan@grsm.com
       101 W. Broadway, Suite 2000
   3   San Diego, CA 92101
       Telephone: (619) 230-7479
   4   Facsimile: (619) 696-7124
   5   DAMON W.D. WRIGHT
       (pro hac vice application to be filed)
   6   dwright@grsm.com
       1101 King St., Suite 520
   7   Alexandria, VA 22314
       Telephone: (202) 399-1009
   8   Facsimile: (202) 800-2999
   9   Attorneys for Defendants
       The Control Group Media
  10   Company, Inc., Instant Checkmate, LLC,
       and TruthFinder, LLC
  11
  12                        UNITED STATES DISTRICT COURT
  13                      SOUTHERN DISTRICT OF CALIFORNIA
  14
  15   CHRISTOPHER BENTLEY; NICHOLAS                  CASE NO. 19-cv-2437 DMS RBB
       LONGO; HENDRY IDAR III; VINCENT
  16   HARDY; JESUS SANCHEZ; and
       TARYN MITCHELL, on behalf of                   DEFENDANTS’
  17   themselves and of others similarly situated,   MEMORANDUM OF POINTS
                                                      AND AUTHORITIES IN
  18                             Plaintiffs,          SUPPORT OF CONSOLIDATED
                                                      MOTION TO COMPEL
  19                        v.                        ARBITRATION
  20   THE CONTROL GROUP MEDIA
       COMPANY, INC.; INSTANT
  21   CHECKMATE, LLC; TRUTHFINDERS,                  Hearing
       LLC,
                                                      Date:         April 10, 20201
  22
                                 Defendants.          Time:         1:30 p.m.
  23                                                  Courtroom:    13A
  24
  25
       1
  26    Pursuant to the Court’s Order Setting Briefing Schedule, ECF No. 7, Plaintiffs
       shall file their response to Defendants’ instant motion on or before March 25,
  27   2020, and Defendants may file a reply on or before April 1, 2020. The Court will
  28   decide the matter on the briefs unless otherwise ordered.


                  DEFENDANTS’ MOPA ISO MOTION TO COMPEL ARBITRATION
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                                      1                MEMORANDUM OF POINTS AND AUTHORITIES
                                      2   I.    INTRODUCTION
                                      3         Plaintiffs, individually and on behalf of others, have sued The Control Group
                                      4   Media Company, LLC, Instant Checkmate, LLC, and TruthFinder, LLC2
                                      5   (“Defendants”) for alleged violations of 15 U.S.C. § 1681, known as the Fair
                                      6   Credit Reporting Act (“FCRA”) and Texas Business & Commercial Code §§
                                      7   109.001–109.007 (“the Texas Statute”). It is perplexing that Plaintiffs’ counsel
                                      8   would file these claims in this Court given the history in Walker et al. v. The
                                      9   Control Group Media Company et al. Case No. 3:19-cv-00347-LAB-JLB, and a
                                     10   subsequent complaint demand filed with the American Arbitration Association
                                     11   (“AAA”). In Walker, Plaintiffs’ counsel represented another group of plaintiffs
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                                     12   (“Walker plaintiffs”), with an identical putative class asserting identical factual
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                                     13   allegations and claims advanced here. Declaration of Damon W.D. Wright
                                     14   (“Wright Decl.”), Exhibit 1. Plaintiffs’ counsel expressly agreed that the Walker
                                     15   plaintiffs were required to arbitrate their claims. On September 17, 2019, in
                                     16   response to Defendants’ Motion to Compel Arbitration, the Walker plaintiffs and
                                     17   the Defendants filed a Joint Motion to Dismiss Without Prejudice. Wright Decl.,
                                     18   Exhibit 2. On September 30, 2019, this Court granted the motion, ordering that the
                                     19   Walker plaintiffs “claims must be brought in the claimants’ individual capacity and
                                     20   not in a representative or class capacity before an arbitrator from the American
                                     21   Arbitration Association (‘AAA’).” Wright Decl., Exhibit 3.
                                     22         Pursuant to the Court’s September 30, 2019 Order, Plaintiffs are “bound by
                                     23   the mandatory and class action waiver provisions set forth in Defendants’ website
                                     24   terms of use….” Id. On October 17, 2019, Plaintiffs’ counsel filed an arbitration
                                     25   demand on behalf of the Walker plaintiffs that also included Christopher Bentley,
                                     26
                                     27   2
                                           The Complaint incorrectly identifies The Control Group Media Company, LLC
                                     28   as “The Control Group Media Company, Inc.” and also has misnamed
                                          TruthFinder, LLC as “TruthFinders, LLC.”
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                                      1   Nicholas Longo, Henry Idar III, Vincent Hardy, Jesus Sanchez, and Taryn Mitchell
                                      2   against Defendants — all of the plaintiffs in this action (the “Bentley plaintiffs”).
                                      3   Wright Decl., Exhibit 4. In the consolidated demand filed with the AAA,
                                      4   Plaintiffs’ counsel represented that both Walker plaintiffs and the Bentley plaintiffs
                                      5   had agreed to consolidate and were required to consolidate their claims. On
                                      6   November 14, 2019, the AAA informed Plaintiffs’ counsel that they need to refile
                                      7   individual claimant demands on behalf of each claimant. Wright Decl., Exhibit 5.
                                      8   Rather than do so, Plaintiffs’ counsel instead refiled individual demands for just
                                      9   the Walker plaintiffs, and have now improperly filed the Bentley plaintiffs’ claim
                                     10   in this Court. With the instant motion, Defendants move to compel arbitration of
                                     11   these claims pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1–16.
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                                     12         Plaintiffs allege that they each had a criminal record that was sealed or
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                                     13   expunged by a Texas court and that, despite request, Defendants then failed to
                                     14   remove their criminal record information from Defendants’ websites in violation of
                                     15   FCRA and the Texas Statute. See Compl. ¶¶ 58-62. Specifically, Plaintiffs allege
                                     16   that they hired an expungement service to represent them and obtain removal of
                                     17   their criminal record information from Defendants’ websites; that the expungement
                                     18   service then wrote to Defendants on Plaintiffs’ behalf and requested removal of
                                     19   Plaintiffs’ criminal record information; that the expungement service then
                                     20   subscribed to Defendants’ websites and agreed to website Terms of Use to
                                     21   determine if Plaintiffs’ criminal record information had been removed; and that the
                                     22   expungement service then determined and reported to Plaintiffs that their criminal
                                     23   record information had not been removed. Id. In all events, Plaintiffs make clear
                                     24   that the expungement service interacted with Defendants on their behalf and
                                     25   acquired all of the evidence that founds Plaintiffs’ claims. Id. at ¶ 62.
                                     26         Plaintiffs’ claims are subject to mandatory arbitration for at least three
                                     27   independent reasons. First, Plaintiffs are bound by the acts of their agent, i.e., the
                                     28   expungement service, who affirmatively agreed to Defendants’ websites Terms of

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                                      1   Use, including the mandatory arbitration provision. Second, Plaintiffs expressly
                                      2   rely on a Defendants’ websites Terms of Use, including the mandatory arbitration
                                      3   provision in attempting to state a claim against Defendants. Third, Plaintiffs
                                      4   acknowledge that all evidence for their claims was obtained through the
                                      5   expungement services’ agreement to Defendants’ websites Terms of Use,
                                      6   including the mandatory arbitration provision.
                                      7   II.   BACKGROUND
                                      8         Defendants operate the popular and successful people search websites
                                      9   InstantCheckmate.com and TruthFinder.com. See Compl. ¶¶ 19-20, 25-26. Instant
                                     10   Checkmate, LLC (“Instant Checkmate”) and TruthFinder, LLC (“TruthFinder”)
                                     11   are sister companies that offer similar public record information through their
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                                     12   respective websites. See Compl. ¶ 25. Although not clear from the Complaint, The
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                                     13   Control Group Media Company, LLC (“The Control Group”) does not own
                                     14   InstantCheckmate.com or TruthFinder.com but rather is a related company and
                                     15   provides technical and operational support. See Declaration of Andrew Johnson
                                     16   (“Johnson Decl.”) ¶ 3. Instant Checkmate and TruthFinder allow persons to search
                                     17   public record information to learn more about friends, acquaintances, or others of
                                     18   interest. See Compl. ¶ 26.
                                     19         Plaintiffs Christopher Bentley, Nicholas Longo, Hendry Idar III, Vincent
                                     20   Hardy, Jesus Sanchez, and Taryn Mitchell each hired and are clients of an
                                     21   “expungement service” based in Texas. Compl. ¶¶ 3, 45. Plaintiffs allege:
                                     22          each Plaintiff “hired the same online expungement assistance service to
                                     23            expunge certain criminal records related to past offenses qualifying for
                                     24            expungement or sealing under Texas law,” Compl. ¶ 58;
                                     25          through the expungement service, each Plaintiff incurred “several hundred
                                     26            dollars in court costs, fees, and related expenses to successfully expunge or
                                     27            seal their records and received an Expungement Order from state court,”
                                     28            Compl. ¶ 58;

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                                      1          each Plaintiff paid the expungement service “an additional $100 to
                                      2            personally notify the universe of background check companies, including
                                      3            Defendants, that they must remove the expunged, expuncted or sealed
                                      4            records from their database,” Compl. ¶ 59;
                                      5          each Plaintiff, “through their expungement assistance service, provided
                                      6            proper notice to over a hundred commercial background reporting services,
                                      7            including Defendants” to remove their criminal record information, Compl.
                                      8            ¶ 61;
                                      9          the expungement service “[became] concerned that Defendants were
                                     10            simply ignoring the legal notices they received,” Compl. ¶ 62; and
                                     11          the expungement service “simply subscribed to Defendants’ website and
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                                     12            reviewed its clients’ published reports for a fee,” Compl. ¶ 62.
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                                     13         Plaintiffs further allege that they, either directly or through an agent, had to
                                     14   subscribe to Defendants’ websites, and thereby agree to website Terms of Use to
                                     15   determine if their criminal record information had been removed.
                                     16            By charging, for example, $34.78 per month for a standard plan
                                                   subscription (and these prices vary between Defendants
                                     17            depending on special offers, etc.)—and by making these fees or
                                                   consideration mandatory for anyone wanting to access their own
                                     18            personal criminal records as part of the correction or
                                                   modification process — Defendants charge “a fee or other
                                     19            consideration to correct or modify criminal record information”
                                                   under Texas law.
                                     20
                                                   Moreover, Defendants’ websites all contain a trap that ironically
                                     21            also constitutes ‘other consideration’ under the law. Before
                                                   anyone may pay for and create an account with Defendants to
                                     22            ascertain whether or not their expunged or sealed records are
                                                   being unlawfully published, they must agree to waive any right
                                     23            to pursue a trial by jury or class action. Foregoing these valuable
                                                   rights also constitutes a form of consideration in this case.
                                     24
                                     25   Compl. ¶¶ 54-55 (emphasis added). Defendants have determined that the
                                     26   expungement service that acted on Plaintiffs’ behalf and agreed to the website terms
                                     27   is E-Legal, Inc. d/b/a Easy Expunctions. See Johnson Decl. ¶ 16.
                                     28   ///

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                                      1         Beginning April 1, 2018, Instant Checkmate received correspondence from
                                      2   Easy Expunctions “on behalf of” each Plaintiff requesting that their criminal record
                                      3   information not be displayed on InstantCheckmate.com. Id. at ¶¶ 4-17. Beginning
                                      4   April 1, 2018, TruthFinder likewise received correspondence from Easy
                                      5   Expunctions “on behalf of” each Plaintiff requesting that their criminal record
                                      6   information not be displayed on TruthFinder.com. Id. at ¶¶ 4-17. Easy
                                      7   Expunctions thereafter subscribed to and used Instant Checkmate’s and
                                      8   TruthFinder’s services on behalf of Plaintiffs. Compl. ¶ 62 (“[Easy Expunctions]
                                      9   simply subscribed to Defendants’ website and reviewed its clients’ published
                                     10   reports for a fee.”). Although Defendants have not been able to determine what
                                     11   account Easy Expunctions used to subscribe to TruthFinder (and Easy Expunctions
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                                     12   has declined to identify this), Defendants have determined that Easy Expunction
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                                     13   subscribed to Instant Checkmate’s services on October 26, 2018. Johnson Decl. ¶
                                     14   16. Using this account, Easy Expunctions thereafter searched Instant Checkmate’s
                                     15   service for Plaintiffs’ records multiple times, including thirty-one searches before
                                     16   Plaintiffs filed the Complaint. Id. at ¶ 24.
                                     17         When Easy Expunctions subscribed to InstantCheckmate.com for their clients
                                     18   allegedly “as part of the correction or modification process” “to ascertain whether
                                     19   or not their [clients’] expunged or sealed records [were] being unlawfully
                                     20   published,” Easy Expunctions twice agreed to the website’s Terms of Use—once on
                                     21   the “Save Your Results” page and once on the “Checkout” page as shown in the
                                     22   screenshot excerpts below. Id. at ¶ 19.
                                     23   ///
                                     24   ///
                                     25   ///
                                     26   ///
                                     27   ///
                                     28   ///

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                                      1                  Instant Checkmate “Save Your Results” Page
                                      2
                                      3
                                                                           Save Your Results
                                      4                                         First Name:                 Last Name:

                                      5
                                                            John
                                      6                     Smith
                                                                                Email:
                                      7
                                      8
                                                                  W•S'Y

                                      9
                                                             I:ECURED,                    SAVE
                                     10                powered by *Ste

                                     11
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                                     12              By clicking 'Save you represent that you are over 18 years of age and
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                                                     have agreed to our terms of use, privacy policy, and limited license for
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                                     13              services and you agree to receive email from Instant Checkmate

                                     14
                                     15
                                     16
                                     17                   Please do not Refresh, Close. or Press the Bock button on this pose °flour
                                                                                 inforrnotionmay be lost
                                     18
                                     19
                                     20   ///
                                     21   ///
                                     22   ///
                                     23   ///
                                     24   ///
                                     25   ///
                                     26   ///
                                     27   ///
                                     28   ///

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                                      1                              Instant Checkmate’s Checkout Page
                                      2
                                      3                H   By clicking "Checkout". you agree to provide your electronic signature authorizing
                                                           Instant Checkmate to charge your card as described in the Billing TO rns. including
                                                           for the automatic renewal of your membership• until you cancel. I agree to the
                                      4                    Instant Checkmate Ter ms of Use. Limited License, and Privacy Policy.

                                      5                    I understand and agree that Instant Checkmate is not a 'consumer reporting
                                                           agency. as defined in the Fair Credit Reporting Act (15 USG § 1681, et seq.)
                                      6                    ("FCRA-) and does not provide "consumer reports". as defined in FCRA. I understand
                                                           and represent that I am not purchasing and will not use Instant Checkmate's
                                                           products or services for any purpose in connection with determining a person's
                                      7                    eligibility for credit. insurance, employment or for any other eligibility
                                                           determination subject to FC RA.
                                      8
                                      9
                                     10                                           CHECKOUT
                                     11
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                                     12                             Screenshot from InstantCheckmate.com
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                                     13         By affirmatively agreeing to the website “Terms of Use,” Easy Expunctions
                                     14   agreed to the following mandatory arbitration provision therein:
                                     15            EXCEPT WHERE PROHIBITED BY LAW, YOU AND
                                                   INSTANT CHECKMATE UNDERSTAND AND AGREE
                                     16            THAT ALL CLAIMS, DISPUTES OR CONTROVERSIES
                                                   BETWEEN YOU AND INSTANT CHECKMATE, ITS
                                     17            PARENTS, AFFILIATES, SUBSIDIARIES OR RELATED
                                                   COMPANIES (INCLUDING DISPUTES AGAINST ANY
                                     18            AGENT,    EMPLOYEE,    SUBSIDIARY,   AFFILIATE,
                                                   PREDECESSOR IN INTEREST, SUCCESSOR, OR ASSIGN
                                     19            OF THE OTHER) RELATING TO THE SITES, THE
                                                   INFORMATION AND MATERIALS PUBLISHED BY
                                     20            INSTANT CHECKMATE ON OR THROUGH THE SITES,
                                                   ANY TRANSACTION OR RELATIONSHIP BETWEEN US
                                     21            RESULTING FROM YOUR USE OF THE SITES,
                                                   COMMUNICATIONS BETWEEN US, OR THE PURCHASE,
                                     22            ORDER, OR USE OF OUR MEMBERSHIP PLANS, THE
                                                   INFORMATION PROVIDED IN CONNECTION WITH OUR
                                     23            MEMBERSHIP PLANS, AND YOUR USE OF OUR
                                                   SERVICES, INCLUDING, WITHOUT LIMITATION, TORT
                                     24            AND CONTRACT CLAIMS, CLAIMS BASED UPON ANY
                                                   FEDERAL, STATE OR LOCAL STATUTE, LAW, ORDER,
                                     25            ORDINANCE OR REGULATION, AND THE ISSUE OF
                                                   ARBITRABILITY, SHALL BE RESOLVED BY THE FINAL
                                     26            AND BINDING ARBITRATION PROCEDURES SET
                                                   BELOW. THE PARTIES ACKNOWLEDGE AND AGREE
                                     27            THAT ANY SUCH CLAIMS SHALL BE BROUGHT
                                                   SOLELY IN THE PARTY'S INDIVIDUAL CAPACITY, AND
                                     28            NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY

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                                      1             PURPORTED CLASS, REPRESENTATIVE PROCEEDING,
                                                    OR PRIVATE ATTORNEY GENERAL CAPACITY. THE
                                      2             PARTIES FURTHER AGREE THAT THE ARBITRATOR
                                                    MAY NOT CONSOLIDATE MORE THAN ONE PERSON'S
                                      3             CLAIMS, AND MAY NOT OTHERWISE PRESIDE OVER
                                                    ANY FORM OF A REPRESENTATIVE OR CLASS
                                      4             PROCEEDING. THE PARTIES VOLUNTARILY AND
                                                    KNOWINGLY WAIVE ANY RIGHT THEY HAVE TO A
                                      5             JURY TRIAL. ANY CONTROVERSY CONCERNING
                                                    WHETHER A DISPUTE IS ARBITRABLE SHALL BE
                                      6             DETERMINED BY THE ARBITRATOR AND NOT BY THE
                                                    COURT. JUDGMENT UPON ANY AWARD RENDERED BY
                                      7             THE ARBITRATOR MAY BE ENTERED BY A
                                                    CALIFORNIA STATE OR FEDERAL COURT HAVING
                                      8             JURISDICTION   THEREOF.   THIS    ARBITRATION
                                                    CONTRACT IS MADE PURSUANT TO A TRANSACTION
                                      9             IN    INTERSTATE     COMMERCE      AND     ITS
                                                    INTERPRETATION, APPLICATION, ENFORCEMENT AND
                                     10             PROCEEDINGS HEREUNDER SHALL BE GOVERNED BY
                                                    THE FEDERAL ARBITRATION ACT (“FAA”).
                                     11
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                                     12   Johnson Decl. ¶¶ 18, 22 (“Instant Checkmate Terms of Use and Limited License”).
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                                     13         When Easy Expunctions subscribed to TruthFinder.com purportedly “as part
                                     14   of the correction or modification process” and to “ascertain whether or not their
                                     15   [clients’] expunged or sealed records [were] being unlawfully published,” Easy
                                     16   Expunctions twice agreed to the website’s Terms of Use—once on the “Save Your
                                     17   Results” page and once on the “Checkout” page as shown in the screenshot excerpts
                                     18   below. Id. at ¶ 19.
                                     19   ///
                                     20   ///
                                     21   ///
                                     22   ///
                                     23   ///
                                     24   ///
                                     25   ///
                                     26   ///
                                     27   ///
                                     28   ///

                                                                                   -8-
                                                 DEFENDANTS’ CONSOLIDATED MOTION TO COMPEL ARBITRATION
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                                      1                            TruthFinder “Save Your Results” Page
                                      2                     Save Your Results
                                      3
                                      4
                                      5
                                      6                                                              John
                                                                                                     Smith
                                      7
                                      8
                                                                   Please provide your email to continue to your report
                                      9
                                                                      Email:

                                     10
                                     11
Gordon Rees Scully Mansukhani, LLP




                                                                        Please enter sour email address

                                     12                                                CONTINUE TO REPORT
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       San Diego, CA 92101




                                     13                           Slit&WI-Can:Male to Rep:it. yco represent that you ra wer 18 years of agt andhave
                                                                 Weed ton termer use. pdvacy Pal tr. ;NM' nree to receive <mai from Trwthrnder or
                                                                                              its marke:ird partners.
                                     14
                                     15                               Nose do hot Rehash. Close, or Press the Bock buttoh on this poge or your
                                                                                             elomichen may be gat
                                     16
                                     17
                                                                             TruthFinder Checkout Page
                                     18
                                          L   By clicking "Checkout". you agree to provide your electronic signature authorizing
                                     19       TruthFinder to charge your card as described in the Billing Terms. including for the
                                              automatic renewal of your membership. until you cancel. I agree to the TruthFinder
                                     20       Terms of Use and Privacy Policy.
                                     21
                                              I understand and agree that TruthFinder is not a 'consumer reporting agency". as
                                     22       defined in the Fair Credit Reporting Act (15 U.S.C,§ 1681. et seg.) ("FCRA") and does
                                              not provide "consumer reports", as defined in FCRA. I understand and represent
                                     23       that I am not purchasing and will not use TruthFincler's products or services for any
                                              purpose in connection with determining a persons eligibility for credit. insurance.
                                     24       emptoyment or for am/ other         ity determination subject to FC RA_

                                     25
                                     26
                                     27
                                                                        CHECKOUT
                                     28

                                                                                                       -9-
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                                      1         By affirmatively agreeing to the website “Terms of Use,” Easy Expunctions
                                      2   agreed to the following mandatory arbitration provision therein:
                                      3            EXCEPT WHERE PROHIBITED BY LAW, YOU AND THE
                                                   COMPANY AGREE THAT ALL CLAIMS, DISPUTES OR
                                      4            CONTROVERSIES BETWEEN YOU AND THE COMPANY
                                                   (INCLUDING DISPUTES AGAINST ANY AGENT
                                      5            EMPLOYEE, SUBSIDIARY, AFFILIATE, PREDECESSOR
                                                   IN INTEREST, SUCCESSOR, OR ASSIGN OF THE OTHER),
                                      6            ITS PARENTS, AFFILIATES, SUBSIDIARIES OR
                                                   RELATED COMPANIES, RELATING TO OUR WEBSITES,
                                      7            THE SERVICES AND MATERIALS PUBLISHED BY THE
                                                   COMPANY ON OR THROUGH THE WEBSITES, ANY
                                      8            TRANSACTION OR RELATIONSHIP BETWEEN US
                                                   RESULTING FROM YOUR USE OF OUR WEBSITES,
                                      9            COMMUNICATIONS BETWEEN US, OR THE PURCHASE,
                                                   ORDER, OR USE OF OUR MEMBERSHIP PLANS, THE
                                     10            INFORMATION PROVIDED IN CONNECTION WITH OUR
                                                   BACKGROUND INFORMATION SERVICES, AND YOUR
                                     11            USE OF OUR BACKGROUND INFORMATION SERVICES,
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                                                   INCLUDING, WITHOUT LIMITATION, TORT AND
                                     12
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                                                   CONTRACT CLAIMS, CLAIMS BASED UPON ANY
                                                   FEDERAL, STATE OR LOCAL STATUTE, LAW, ORDER,
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                                     13            ORDINANCE OR REGULATION, AND THE ISSUE OF
                                                   ARBITRABILITY, SHALL BE RESOLVED BY THE FINAL
                                     14            AND BINDING ARBITRATION PROCEDURES SET
                                                   BELOW. THE PARTIES ACKNOWLEDGE AND AGREE
                                     15            THAT ANY SUCH CLAIMS SHALL BE BROUGHT
                                                   SOLELY IN THE PARTY'S INDIVIDUAL CAPACITY, AND
                                     16            NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY
                                                   PURPORTED CLASS, REPRESENTATIVE PROCEEDING,
                                     17            OR PRIVATE ATTORNEY GENERAL CAPACITY. THE
                                                   PARTIES FURTHER AGREE THAT THE ARBITRATOR
                                     18            MAY NOT CONSOLIDATE MORE THAN ONE PERSON'S
                                                   CLAIMS, AND MAY NOT OTHERWISE PRESIDE OVER
                                     19            ANY FORM OF A REPRESENTATIVE OR CLASS
                                                   PROCEEDING. THE PARTIES VOLUNTARILY AND
                                     20            KNOWINGLY WAIVE ANY RIGHT THEY HAVE TO A
                                                   JURY TRIAL. ANY CONTROVERSY CONCERNING
                                     21            WHETHER A DISPUTE IS ARBITRABLE SHALL BE
                                                   DETERMINED BY THE ARBITRATOR AND NOT BY THE
                                     22            COURT. JUDGMENT UPON ANY AWARD RENDERED BY
                                                   THE ARBITRATOR MAY BE ENTERED BY A
                                     23            CALIFORNIA STATE OR FEDERAL COURT HAVING
                                                   JURISDICTION    THEREOF.    THIS   ARBITRATION
                                     24            CONTRACT IS MADE PURSUANT TO A TRANSACTION
                                                   IN     INTERSTATE    COMMERCE        AND     ITS
                                     25            INTERPRETATION, APPLICATION, ENFORCEMENT AND
                                                   PROCEEDINGS HEREUNDER SHALL BE GOVERNED BY
                                     26            THE FEDERAL ARBITRATION ACT (“FAA”).
                                     27   Johnson Decl. ¶ 20 (“Truthfinder Terms of Use”).
                                     28   ///

                                                                                 -10-
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                                      1          Relying on Easy Expunctions’ subscription, access, and investigation into
                                      2   Defendants’ websites, Plaintiffs allege that “the expunged criminal records for the
                                      3   Plaintiffs, and approximately two dozen other clients of the expungement services,
                                      4   continue to be published and available to the public on Defendants’ websites.”
                                      5   Compl. ¶ 62.
                                      6   III.   ARGUMENT
                                      7          Perhaps recognizing they are bound by Easy Expunctions’ agreement to
                                      8   arbitrate, Plaintiffs contend that Easy Expunctions subscribed to Defendants’
                                      9   websites “of its own volition and without instruction from or payment by their
                                     10   injured clients.” Compl. ¶ 45. The timing of the searches, however, strongly
                                     11   indicates that Easy Expunctions was acting at the instruction and direction of
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                                     12   Plaintiffs and their counsel. See Johnson Decl. ¶ 24 (identifying thirty-one
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                                     13   searches by Easy Expunctions prior to the filing of the Complaint). While
                                     14   Plaintiffs have withheld facts about the extent of their collaboration with Easy
                                     15   Expunctions, evidentiary proof is not needed to mandate arbitration.3 Plaintiffs
                                     16   cannot disavow their other factual allegations which confirm that Plaintiffs must
                                     17   arbitrate.
                                     18          First, arbitration is required based on agency because Easy Expunctions was
                                     19   hired by each Plaintiff, acted “on behalf of” each Plaintiff to obtain removal of
                                     20   Plaintiffs’ information from Defendants’ websites, and then “simply subscribed to
                                     21   Defendants’ website and reviewed its client’s published reports.” Compl. ¶¶ 61–
                                     22   62. Second, arbitration is required based on estoppel since Plaintiffs allege that
                                     23   Defendants are liable because Plaintiffs, either directly or through an agent, had to
                                     24   subscribe to Defendants’ websites and agree to website terms “as part of the
                                     25
                                          3
                                     26    Should the Court want such proof, Defendants request that this Court conduct an
                                          evidentiary hearing into the collaboration prior to deciding Defendants’ motion to
                                     27   compel arbitration. Garrbacz v. A.T. Kearny, Inc., 2006 U.S. Dist. LEXIS 20135,
                                          *5-6 (N.D. Cal. 2006) (“If there is doubt as to whether such an agreement [to
                                     28   arbitrate] exists, the matter should be resolved through an evidentiary hearing or
                                          mini-trial.”) (internal citations omitted).
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                                      1   correction or modification process” and to “ascertain whether or not their . . .
                                      2   expunged or sealed records [were] being unlawfully published.” Compl. ¶¶ 54–55.
                                      3   Third, arbitration is required based on estoppel because the entirety of the evidence
                                      4   that Plaintiffs have compiled against Defendants was received from and “gathered .
                                      5   . . by their third-party expungement service” through subscribing to Defendants’
                                      6   websites and agreeing to the website terms. Compl. ¶ 62. For each and all of these
                                      7   reasons, arbitration is required.
                                      8          A.     The FAA Requires Enforcement of Arbitration Agreements
                                      9          The arbitration provisions at issue are expressly governed by the FAA. “The
                                     10   ‘principal purpose’ of the FAA is to ‘ensur[e] that private arbitration agreements
                                     11   are enforced according to their terms.’” AT&T Mobility LLC v. Concepcion, 563
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                                     12   U.S. 333, 344 (2011) (quoting Volt Information Sciences, Inc. v. Board of Trustees
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                                     13   of Leland Stanford Junior Univ., 489 U.S. 468, 478 (1989)). The FAA provides
                                     14   that “any arbitration agreement within its scope shall be valid, irrevocable, and
                                     15   enforceable.” 9 U.S.C. § 2. It permits any party “aggrieved by the alleged …
                                     16   refusal of another to arbitrate” to move for an order compelling arbitration in the
                                     17   manner provided for in the agreement. Id. § 4; Chiron v. Ortho Diagnostic Sys.,
                                     18   Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). “The standard for demonstrating
                                     19   arbitrability is not a high one; in fact, a district court has little discretion to deny an
                                     20   arbitration motion, since the [FAA] is phrased in mandatory terms.” Republic of
                                     21   Nicar. v. Std. Fruit Co., 937 F.2d 469, 475 (9th Cir. 1991).4
                                     22          B.     Plaintiffs Are Bound By The Arbitration Agreements
                                     23           “[N]onsignatories of arbitration agreements may be bound by the
                                     24   agreement under ordinary contract and agency principles.” Letizia v. Prudential
                                     25   Bache Sec., Inc., 802 F.2d 1185, 1187 (9th Cir. 1986). “Among these principles are
                                     26
                                          4
                                     27     To be clear, the arguments herein apply with equal force to The Control Group
                                          since it is a related company to Instant Checkmate and TruthFinder and since
                                     28   Instant Checkmate’s and TruthFinder’s Terms of Use require arbitration against
                                          “RELATED COMPANIES” with respect to any claim relating to the websites.
                                                                                      -12-
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                                      1   ‘1) incorporation by reference; 2) assumption; 3) agency; 4) veil-piercing/alter ego;
                                      2   and 5) estoppel.’” Comer v. Micor, Inc., 436 F.3d 1098, 1101 (9th Cir. 2006)
                                      3   (citing Thomson-CSF, S.A. v. Am. Arbitration Ass’n, 64 F.3d 773, 776 (2d Cir.
                                      4   1995)); see also Cohen v. TNP 2008 Participating Notes Program, LLC, (2019) 31
                                      5   Cal. App. 5th 840, 859 (“There are circumstances in which nonsignatories to an
                                      6   agreement containing an arbitration clause can be compelled to arbitrate under that
                                      7   agreement. There are six theories by which a nonsignatory may be bound to
                                      8   arbitrate: ‘(a) incorporation by reference; (b) assumption; (c) agency; (d) veil-
                                      9   piercing or alter ego; (e) estoppel; and (f) third party beneficiary.”’) (quoting
                                     10   Benaroya v. Willis (2018) 23 Cal.App.5th 462, 469).5 A plaintiff-principal does
                                     11   not avoid arbitration by dispatching her agent to deal with the defendant in lieu of
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                                     12   dealing with the defendant herself. See Keller Constr. Co. v. Kashani, 220 Cal.
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                                     13   App. 3d 222, 226-228 (Ct. App. 1990).
                                     14                1.     Plaintiffs are bound by the arbitration agreements because
                                                              Easy Expunctions acted as Plaintiffs’ agent.
                                     15
                                     16         “An agent is one who acts ‘on the principal’s behalf and subject to his
                                     17   control.” De Suza v. Andersack, (1976) 63 Cal. App. 3d 694, 699 (citing Section 1
                                     18   Restatement Second, Agency). A party to an arbitration agreement can compel a
                                     19   nonsignatory to arbitrate when “an agency relationship between the nonsignatory
                                     20   and one of the parties to the arbitration agreement, makes it equitable to impose the
                                     21   duty to arbitrate upon the nonsignatory.” Hellmich v. Mastiff Contr., LLC, 2015
                                     22   U.S. Dist. LEXIS 9939, at *18 (C.D. Cal. 2015) (binding nonsignatories to an
                                     23   arbitration provision in loan agreement upon finding that nonsignatories were
                                     24
                                          5
                                     25     “Federal substantive law governs the question of arbitrability. However, state law
                                          is not entirely displaced from analysis under the Federal Arbitration Act, 9
                                     26   U.S.C.S. § 1 et seq. A federal court determining arbitrability must apply the law
                                          governing the underlying contract. The court must interpret the contract by
                                     27   applying general state-law principles of contract interpretation, while giving due
                                          regard to the federal policy in favor of arbitration by resolving ambiguities as to
                                     28   the scope of arbitration in favor of arbitration.” McLeod v. Ford Motor Co., 2005
                                          U.S. Dist. LEXIS 17188, *1 (C.D. Cal. 2005).
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                                      1   agents of the borrower); Westra v. Marcus & Millichap Real Estate Investment
                                      2   Brokerage Co., Inc., (2005) 129 Cal. App. 4th 759, 765 (“A nonsignatory to an
                                      3   agreement to arbitrate may be required to arbitrate . . . if a preexisting confidential
                                      4   relationship, such as an agency relationship between the nonsignatory and one of
                                      5   the parties to the arbitration agreement, makes it equitable to impose the duty to
                                      6   arbitrate upon the nonsignatory.”).
                                      7         Just as Easy Expunctions served as Plaintiffs’ agent when it wrote Instant
                                      8   Checkmate and TruthFinder “on behalf of” each of its clients, Easy Expunctions
                                      9   remained Plaintiffs’ agent when it “simply subscribed to Defendants’ website[s]
                                     10   and reviewed its clients’ published reports for a fee.” Compl. ¶ 62. Plaintiffs hired
                                     11   and paid Easy Expunctions to have their criminal record information removed from
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                                     12   Defendants’ websites.6 Easy Expunctions took on the matter. It strains credulity
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                                     13   to believe that Easy Expunctions then abruptly decided the matter was closed and
                                     14   that everything the profit-making enterprise did thereafter to serve its clients
                                     15   (subscribing to Defendants’ websites, repeatedly searching for its clients’
                                     16   information, and repeatedly doing so before and after this action was filed) was
                                     17   instead on its “own volition.” Easy Expunction was Plaintiffs’ agent, either acting
                                     18   directly or at the direction and instruction of Plaintiffs’ counsel, when it subscribed
                                     19   to Defendants’ websites and agreed to the Terms of Use.
                                     20         This case shares similarity with, Independent Living Resource Center San
                                     21   Francisco, et al. v. Uber Technologies, Inc., et al., 2019 U.S. LEXIS 127072 (N.D.
                                     22   Cal. 2019), where plaintiffs contended that Uber had longer wait times for
                                     23   wheelchair accessible vehicles than for other vehicles. Id. at *4. Plaintiffs
                                     24   conceded that they tested the wait times on the Uber application through an agent
                                     25
                                          6
                                     26     Easy Expunctions describes this client service in its advertising, explaining
                                          “We’ll have your record scrubbed from the databases of dozens of nationally
                                     27   accredited background check and mugshot companies.” Wright Decl. ¶ 7, Exhibit
                                          6. Although Plaintiffs allege that they each paid $100 to have Easy Expunctions
                                          -
                                     28   remove information from Defendants’ websites, Easy Expunctions identifies $249
                                          as its fee for this service.
                                                                                   -14-
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                                      1   from the Disability Rights Advocates. Id. at *5, 9. The court found that plaintiffs
                                      2   were bound to the arbitration agreement provided in Uber’s Terms of Use, despite
                                      3   their agent being the only person who agreed to the terms, because the agent was
                                      4   acting within the scope of the agency amidst her agreement to be bound by the
                                      5   terms. Id. at *11. Specifically, the court found that plaintiffs had affirmatively
                                      6   dispatched an agent to test the Uber application to strengthen their claim for
                                      7   discrimination, and “a plaintiff who dispatches an agent to deal with a defendant
                                      8   on his or her behalf is bound by an arbitration agreement entered into by the agent
                                      9   in the course of those dealings.” Id. at *7-8 (citing Cal. Civ. Code § 2330 (“An
                                     10   agent represents his principal for all purposes within the scope of his actual or
                                     11   ostensible authority, and all the rights and liabilities which would accrue to the
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                                     12   agent from transactions within such limit, if they had been entered into on his own
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                                     13   account, accrue to the principal.”)); Id. at *11. The court rejected plaintiffs’
                                     14   argument that this would lead to an inequitable result, further concluding that it
                                     15   would not be inequitable to bind plaintiffs to the arbitration agreement that gained
                                     16   them access to the Uber Application in the first place. Id. at *11.7
                                     17         As compared to Uber, the facts as to Plaintiffs and Easy Expunctions
                                     18   demonstrate even more that arbitration is required. Just as the agent in Uber
                                     19   affirmatively agreed to the Terms of Use including an arbitration agreement, Easy
                                     20   Expunctions affirmatively agreed via clickwrap agreements that any dispute
                                     21
                                     22   7
                                            Hellmich v. Mastiff Contr., LLC, 2015 U.S. Dist. LEXIS 9939 (C.D. Cal. 2015),
                                     23   while applying different facts, is also instructive. There, the petitioner sought to
                                          confirm an arbitration award against non-signatories to a loan agreement that
                                     24   included an arbitration provision. Rejecting the non-signatories’ argument that
                                          they could not be bound to an agreement they never signed, the court found that
                                     25   the non-signatories were the agents of the borrower and thus were bound by the
                                          borrower’s loan agreement and bound by the arbitration award. Id. at *18. This
                                     26   could be viewed as a surprising outcome since typically a principal is bound by the
                                          acts of its agents, but an agent is not typically bound by the acts of its principal.
                                     27   See, e.g., De Suza, 63 Cal. App. 3d 694 at 699. If the facts instead had been that the
                                          agents had signed a loan agreement while acting for the principal with the principal
                                     28   being a nonsignatory, there can be no doubt that the court would have found the
                                          principal bound to arbitrate.
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                                      1   relating to its use of the websites was subject to mandatory arbitration. Johnson
                                      2   Decl. ¶¶ 17, 19. From October 2018 through March 2019, Easy Expunctions then
                                      3   extensively searched Defendants’ websites for information about its clients to
                                      4   gather evidence for this action. Johnson Decl. ¶ 24. Further, unlike the plaintiffs
                                      5   in Uber, Plaintiffs concede to have known about the mandatory arbitration
                                      6   provision contained in the Terms of Use. As the Complaint makes clear, Plaintiffs
                                      7   knew about the mandatory arbitration provision, knew that acceptance of the
                                      8   provision is required to subscribe to Defendants’ websites, and knew that Easy
                                      9   Expunctions in fact had agreed to the provision in gathering their evidence for this
                                     10   action. See Compl. ¶¶ 54-55.
                                     11         Easy Expunctions had no reason to search Instant Checkmate or TruthFinder
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                                     12   for its clients other than to serve its clients. To say Easy Expunctions subscribed
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                                     13   and searched Instant Checkmate and TruthFinder not to serve its clients is not
                                     14   credible. Rather, the only reason Easy Expunctions subscribed and searched
                                     15   Instant Checkmate and TruthFinder was to see if its clients’ information had been
                                     16   removed and gather evidence for this action on behalf of its clients. Because Easy
                                     17   Expunctions agreed to the mandatory arbitration provision when acting on behalf
                                     18   of Plaintiffs, Plaintiffs’ claims must be arbitrated. Uber Technologies, Inc., 2019
                                     19   U.S. LEXIS 127072 at *9 (“The conventional test for determining whether
                                     20   Plaintiffs are bound by the arbitration agreement turns on whether the agent was
                                     21   acting within the scope of the agency when he or she agreed to be bound.”).
                                     22                2.    Plaintiffs are estopped from avoiding the arbitration
                                                             agreement given Plaintiffs’ own allegations about the
                                     23                      agreements.
                                     24         The doctrine of estoppel further requires that Plaintiffs’ claims be arbitrated.
                                     25   “Equitable estoppel precludes a party from claiming the benefits of a contract
                                     26   while simultaneously attempting to avoid the burdens that contract imposes.”
                                     27   Sherwood Mktg. Grp., LLC v. Intertek Testing Servs., N.A., 2018 U.S. Dist. LEXIS
                                     28   16264, *13 (S.D. Cal. 2018); MoistTech Corp. v. Sensortech Sys., 2015 U.S. Dist.

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                                      1   LEXIS 123136, *14-15 (C.D. Cal. 2015) (“Equitable estoppel applies when a
                                      2   plaintiff brings a claim which relies on contract terms against a defendant and
                                      3   serves to prevent the plaintiff from avoiding the arbitration clause contained in the
                                      4   agreement”). The doctrine recognizes that “[i]t is unfair for a party to rely on a
                                      5   contract when it works to its advantage, and repudiate it when it works to its
                                      6   disadvantage. Tradeline Enterprises Pvt. Ltd. v. Jess Smith & Sons Cotton, LLC,
                                      7   2016 WL 7444857, at *9 (C.D. Cal. July 29, 2016) (internal citations omitted).
                                      8   Although Plaintiffs try to do so here, “[a] party may not use artful pleading to
                                      9   avoid arbitration.” Id.
                                     10         Plaintiffs cannot escape the fact that they rely on Defendants’ mandatory
                                     11   arbitration provision in an attempt to state a claim. Specifically, for their claim
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                                     12   under the Texas Statute, Plaintiffs allege that they, either directly or through an
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                                     13   agent, were required to subscribe to Instant Checkmate and TruthFinder to
                                     14   determine if their criminal record information had been removed. Again, Plaintiffs
                                     15   allege:
                                     16              By charging, for example, $34.78 per month for a standard plan
                                                     subscription (and these prices vary between Defendants
                                     17              depending on special offers, etc.)—and by making these fees or
                                                     consideration mandatory for anyone wanting to access their own
                                     18              personal criminal records as part of the correction or
                                                     modification process — Defendants charge “a fee or other
                                     19              consideration to correct or modify criminal record information”
                                                     under Texas law.
                                     20
                                                     Moreover, Defendants’ websites all contain a trap that ironically
                                     21              also constitutes ‘other consideration’ under the law. Before
                                                     anyone may pay for and create an account with Defendants to
                                     22              ascertain whether or not their expunged or sealed records are
                                                     being unlawfully published, they must agree to waive any right
                                     23              to pursue a trial by jury or class action. Foregoing these valuable
                                                     rights also constitutes a form of consideration in this case.
                                     24
                                     25   Compl. ¶¶ 54–55 (emphasis added). Put differently, Plaintiffs allege that they and
                                     26   those like them were forced by Defendants to subscribe, create an account, and agree
                                     27   to website terms (including agreeing “to waive any right to pursue a trial by jury”)
                                     28   “as part of the correction or modification process” and “to ascertain whether or not

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                                      1   their expunged or unsealed records [were] being unlawfully published.” While the
                                      2   allegations that Defendants charge anything or require a subscription to remove
                                      3   information is incorrect, Plaintiffs’ allegations confirm that their claims rely on the
                                      4   very arbitration provision they seek to avoid.
                                      5          On the one hand, Plaintiffs allege that Instant Checkmate and TruthFinder
                                      6   required that they subscribe, create an account, and agree to website terms to
                                      7   obtain correction of criminal record information and ascertain if they might have a
                                      8   claim. But, on the other hand, Plaintiffs allege that they personally did none of
                                      9   these things. This can only lead to one straightforward and common-sense
                                     10   conclusion. By their own allegations, Plaintiffs have acknowledged that Easy
                                     11   Expunctions subscribed, created an account, and agreed to website terms with
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                                     12   Instant Checkmate and TruthFinder on Plaintiffs’ behalf. By their own allegations,
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                                     13   Plaintiffs further reveal that their claims are intertwined with the website terms,
                                     14   including their attack on the mandatory arbitration provision. Plaintiffs criticize
                                     15   the website terms as requiring them “to waive any right to a trial by jury or class
                                     16   action” and complain that “[f]oregoing these valuable rights also constitutes a form
                                     17   of consideration in this case.” Compl. ¶ 55 (emphasis added).
                                     18          Because Plaintiffs have pled that they were required to agree to mandatory
                                     19   arbitration and have made the mandatory arbitration provision part of their claim,
                                     20   Plaintiffs are estopped from avoiding arbitration. Plaintiffs cannot have it both ways.
                                     21   See Sherwood Mktg. Grp., LLC, 2018 WL 672515, at *6 (“Plaintiff’s entire action
                                     22   appears to arise from Intertek’s performance of its duties under the Certification
                                     23   Agreement . . . . Thus, it appears Plaintiff is in fact knowingly attempting to
                                     24   exploit the terms of the Certification Agreement and simultaneously avoid the
                                     25   arbitration clause, and is therefore barred from raising these claims against
                                     26   Intertek.”).
                                     27   ///
                                     28   ///

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                                      1                 3.     Plaintiffs are estopped from avoiding the arbitration
                                                               agreement because Plaintiffs have knowingly exploited the
                                      2                        benefits of the agreement.
                                      3          Finally, Plaintiffs are estopped from avoiding arbitration because they have
                                      4   accepted, exploited, and enjoyed the benefits of Easy Expunctions’ subscription
                                      5   and access to Defendants’ websites in gathering all of their evidence for this
                                      6   action. “[T]he Ninth Circuit has observed that ‘non-signatories have been held to
                                      7   arbitration clauses where the non-signatory knowingly exploits the agreement
                                      8   containing the arbitration clause despite having never signed the agreement.’”
                                      9   Montoya v. Comcast Corp., No. 2:15-CV-02573-TLN-DB, 2016 WL 5340651, at *4
                                     10   (E.D. Cal. Sept. 23, 2016) (quoting Comer v. Micor, Inc., 436 F.3d 1098, 1101 (9th
                                     11   Cir. 2006)); see also Larson v. Speetjens, 2006 U.S. Dist. LEXIS 66459, *14 (N.D.
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                                     12   Cal. 2006) (“A nonsignatory is estopped from refusing to comply with an arbitration
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       San Diego, CA 92101




                                     13   clause when it receives a direct benefit from a contract containing an arbitration
                                     14   clause.”) (internal citations omitted).
                                     15          Montoya v. Comcast Corp. is analogous. The plaintiffs were not signatories
                                     16   to Comcast’s customer agreement but had received the benefits of Comcast’s
                                     17   services and sued Comcast alleging that it had negligently allowed their
                                     18   information to be hacked. 2016 WL 5340651, at *1. Comcast moved to compel
                                     19   arbitration pursuant to Comcast’s customer agreement, arguing that “using
                                     20   Defendant’s services binds Plaintiffs to the Customer Agreement and the
                                     21   arbitration provision within that agreement.” Id. at *2. The fact that the plaintiffs
                                     22   did not sign Comcast’s customer agreement was undisputed. Id. at *4. The court
                                     23   found that that the claims at issue were “intertwined” with the underlying contract
                                     24   obligations. Comcast’s customer agreement included the following:
                                     25             XFINITY Service(s) will be provided to you (“you,” “your,” or
                                                    “Customer”) on the terms and conditions set forth in this
                                     26             Agreement for Residential Services (the “Agreement”) and
                                                    applicable law by the operating company subsidiary of Comcast
                                     27             Corporation. . .
                                     28   ///

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                                      1               Note: This Agreement contains a binding arbitration provision in
                                                      Section 13 that affects your rights under this Agreement with
                                      2               respect to all Service(s).
                                      3   2016 WL 5340651, at *6. Even though plaintiffs did not sign Comcast’s customer
                                      4   agreement, the fact that plaintiffs had knowingly received benefits under Comcast’s
                                      5   customer agreement was enough to require arbitration. As the Montoya court
                                      6   explained, plaintiffs “knowingly exploited Defendant's service and therefore accepted
                                      7   its terms by accepting the benefits of service” and thus “must consent to the terms
                                      8   and conditions of the contract, including the arbitration provision.” Id. at *5-6. So
                                      9   too here.
                                     10         Here, Plaintiffs have knowingly exploited Defendants’ services because
                                     11   Plaintiffs’ claims are based solely on the evidence that Easy Expunctions obtained
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                                     12   via its subscription to Defendants’ websites and then provided to Plaintiffs.
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                                     13   Plaintiffs cannot rely on evidence gathered by agreeing to the Terms of Use, but
                                     14   then ignore the mandatory arbitration provision included therein. See NORCAL
                                     15   Mutual Ins. Co. v. Newton, (2000) 84 Cal. App. 4th 64, 81 (“[A] principal is not
                                     16   allowed to ratify the unauthorized acts of an agent to the extent that they are
                                     17   beneficial, and disavow them to the extent that they are damaging. If a principal
                                     18   ratifies part of a transaction, he is deemed to ratify the whole of it.”). Because
                                     19   Plaintiffs enjoyed the benefits of Easy Expunctions’ subscription and access to
                                     20   Defendants’ websites in gathering the evidence for this action, Plaintiffs are bound
                                     21   to Defendants’ Terms of Use and mandatory arbitration provision.
                                     22                  4.    Whether the arbitration agreements apply to Plaintiffs’
                                                               claims should be decided by the arbitrator
                                     23
                                     24         This Court need not address whether Plaintiffs’ claims are subject to the
                                     25   arbitration agreements because Instant Checkmate and TruthFinder’s arbitration
                                     26   agreements empower the arbitrator to decide whether a dispute is arbitrable and
                                     27   thus this decision is to be exclusively made by the arbitrator. See Johnson Decl. ¶¶
                                     28   18, 20 (“ANY CONTROVERSY CONCERNING WHETHER A DISPUTE IS

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                                      1   ARBITRABLE SHALL BE DETERMINED BY THE ARBITRATOR AND NOT
                                      2   BY THE COURT.”). The U.S. Supreme Court has held “[w]hen the parties’
                                      3   contract delegates the arbitrability question to an arbitrator, a court may not
                                      4   override the contract. In those circumstances, a court possesses no power to decide
                                      5   the arbitrability issue.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S.
                                      6   Ct. 524, 529, 202 L. Ed. 2d 480 (2019). The Court further emphasized that this is
                                      7   true even if a court believes “that the argument that the arbitration agreement
                                      8   applies to a particular dispute is wholly groundless.” Id. Expressly incorporating
                                      9   the AAA rules “clearly and unmistakably” delegates threshold questions to the
                                     10   arbitrator, expressly permitting the arbitrator to rule on his own jurisdiction
                                     11   including any objections to the scope, validity, or existence of the arbitration
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                                     12   agreement. See Oracle, Inc. v. Myriad Grp. A.G., 724 F.3d 1069, 1074 (9th Cir.
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       San Diego, CA 92101




                                     13   2013) (“Virtually every circuit to have considered the issue has determined the
                                     14   incorporation of the American Arbitration Association’s (AAA) arbitration rules
                                     15   constitutes clear and unmistakable evidence that the parties agreed to arbitrate
                                     16   arbitrability.”) Applying this precedent, the question of whether Plaintiffs’ claims
                                     17   are subject to the arbitration agreements must be reserved for the arbitrator.
                                     18         C.     The Court Should Stay This Action Pending Arbitration
                                     19         The Ninth Circuit has instructed that district courts should stay actions
                                     20   pending arbitration. MediVas, LLC v. Marubeni Corp., 741 F.3d 4, 9 (9th Cir.
                                     21   2014) (explaining that dismissal is disfavored and recognizing a rebuttable
                                     22   presumption that a court stays a case after ordering the parties to arbitrate); Bushley
                                     23   v. Credit Suisse First Bos., 360 F.3d 1149, 1153 n.1 (9th Cir. 2004) (explaining
                                     24   that dismissal in favor of arbitration, and the subsequent appellate review, is
                                     25   disfavored). The FAA requires that a court issue a stay for the duration of the
                                     26   arbitration proceeding upon a request from a party. See 9 U.S.C. § 3. Thus,
                                     27   Defendants move for an order enforcing the mandatory arbitration agreement and
                                     28   staying this action pursuant to 9 U.S.C. § 3.

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                                        1   IV.   CONCLUSION
                                        2         WHEREFORE, Defendants respectfully request that this Court enter an
                                        3   order: (1) directing Plaintiffs to submit their claims to arbitration pursuant to the
                                        4   Instant Checkmate and TruthFinder arbitration agreement and the FAA, 9 U.S.C.
                                        5   § 4; and (2) staying this action pending the outcome of the arbitration, or in the
                                        6   alternative, dismissing the action without prejudice.
                                        7                                          Respectfully submitted,
                                        8   Dated: March 11, 2020                  GORDON REES SCULLY
                                                                                   MANSUKHANI, LLP
                                        9
                                       10                                          By: /s/ Hazel Mae B. Pangan
                                                                                       Hazel Mae B. Pangan
                                       11                                              Damon W.D. Wright
  Gordon Rees Scully Mansukhani, LLP




                                       12                                              Attorneys for Defendants
     101 W. Broadway, Suite 2000




                                                                                       THE CONTROL GROUP MEDIA
         San Diego, CA 92101




                                       13                                              COMPANY, LLC, INSTANT
                                       14                                              CHECKMATE, LLC,
                                                                                       TRUTHFINDER, LLC
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